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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     DONNA J. FORSYTH, et al.,                         Case No. 16-cv-04775-EJD
                                                        Plaintiffs,                        ORDER GRANTING (1) FINAL
                                   9
                                                                                           APPROVAL OF CLASS ACTION AND
                                                 v.                                        COLLECTIVE ACTION
                                  10
                                                                                           SETTLEMENT AND (2) PLAINTIFFS'
                                  11     HP INC., et al.,                                  MOTION FOR ATTORNEY'S FEES
                                                                                           AND COSTS, AND SERVICE AWARDS
                                                        Defendants.                        FOR NAMED PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13
                                                                                           Re: ECF Nos. 534, 537
                                  14

                                  15          On December 19, 2023, Plaintiffs Arun Vatturi and Kevin Alviso (“California Class
                                  16   Representatives”), along with Donna Forsyth (now deceased, through her representative Chris
                                  17   Forsyth), Dan Weiland and Shafiq Rahman (together “Named Plaintiffs” or “Plaintiffs”) filed their
                                  18   Motion for Attorneys’ Fees, Costs, and Service Awards for the Named Plaintiffs (“Motion for
                                  19   Attorneys’ Fees, Costs, and Service Awards”).
                                  20          On February 22, 2024, Plaintiffs brought an Unopposed Motion for Final Approval of
                                  21   Class Action and Collective Action Settlement (“Motion for Final Approval”).
                                  22          On March 28, 2024, this Court held a fairness hearing to consider final approval of the
                                  23   proposed Settlement.
                                  24          Having considered the motions, papers submitted in support of the motions, argument of
                                  25   counsel, and applicable law, the Court now enters this Order Granting (1) Plaintiffs’ Motion for
                                  26   Final Approval and (2) Plaintiffs’ Motion for Attorneys’ Fees, Costs and Service Awards, and
                                  27   FINDS and ORDERS as follows:
                                  28   Case No.: 16-cv-04775-EJD
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                                   1   I.     NATURE OF THE ACTION

                                   2          Plaintiffs allege that HP Inc. (previously named Hewlett-Packard Company) (“HP Inc.”)

                                   3   and Hewlett-Packard Enterprise Company (“HPE”) (collectively, “Defendants”), violated the Age

                                   4   Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621, et seq., and California’s Fair

                                   5   Employment and Housing Act, Cal. Gov’t Code § 12900, et seq. (“FEHA”), Unfair Competition

                                   6   Law, Cal. Bus. & Prof. Code §17200, et seq. (“UCL”), and common law, by terminating older

                                   7   employees and replacing them with younger employees in workforce reductions.

                                   8          Defendants have denied and continue to deny they have engaged in any unlawful conduct

                                   9   or violated the ADEA or any California law, or are liable or owe damages to anyone with respect

                                  10   to the facts or causes of action alleged.

                                  11   II.    THE SETTLEMENT AGREEMENT1
                                  12          A.      The ADEA Plaintiffs and California Settlement Classes
Northern District of California
 United States District Court




                                  13          There are 146 ADEA Plaintiffs in this case.2 There are 242 members of the California

                                  14   Settlement Classes defined below who did not timely exclude themselves from the Settlement

                                  15   following notice (“Participating California Class Members”), 32 of whom also opted into to one of

                                  16   the ADEA collectives and are ADEA Plaintiffs. Thus, in total, there are now 356 unique

                                  17   individuals eligible to share in the proceeds of the Settlement.

                                  18          The “California Settlement Classes” are defined as follows (see SA § 1.7):

                                  19                  1.      The HP Co./HP Inc. California Class:
                                  20          All individuals who had their employment terminated by HP Inc. (including when HP Inc.

                                  21

                                  22   1
                                        Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Unopposed Motion for Preliminary
                                  23   Approval of Class and Collective Action Settlement (“Anderson Prelim. App. Decl.”) (ECF No.
                                       526-1-2), Exhibit A (Collective and Class Action Settlement Agreement (“SA”, “Settlement” or
                                  24   “Settlement Agreement”)).

                                  25
                                       2
                                         On April 13, 2021, this Court granted Plaintiffs’ Motion for Preliminary Certification pursuant to
                                       the standards set forth under the Fair Labor Standards Act (“FLSA”) and permitted notice to be
                                  26   sent to individuals who were putative members of two separate putative ADEA collectives, so that
                                       those individuals might determine whether to opt into this litigation as party plaintiffs. After
                                  27   notice was disseminated, 146 individuals opted into the lawsuit as party plaintiffs (the “ADEA
                                       Plaintiffs”).
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                                   1   was named Hewlett-Packard Company) in California pursuant to a WFR Plan between August 18,

                                   2   2012, and February 15, 2022, and who were 40 years or older at the time of such termination. As

                                   3   provided in the operative Fourth Amended Complaint [Dkt. No. 389] (“FAC”), excluded from the

                                   4   HP Co./HP Inc. California Class are: (a) individuals who signed a Waiver and General Release

                                   5   Agreement (as defined in the FAC, n.1); and (b) individuals who signed an Agreement to Arbitrate

                                   6   Claims (as defined in the FAC, n.2).3 In addition, any individuals who previously signed

                                   7   agreements that waived and released the claims asserted in this action are excluded from the HP

                                   8   Co./HP Inc. California Class.

                                   9                  2.     The HPE California Class:
                                  10          All individuals who had their employment terminated by Hewlett Packard Enterprise

                                  11   Company in California pursuant to a WFR Plan between November 1, 2015, and February 15,

                                  12   2022, and who were 40 years or older at the time of such termination. As provided in the operative
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                                  13   FAC [Dkt. No. 389], excluded from the HPE California Class are: (a) individuals who signed a

                                  14   Waiver and General Release Agreement (as defined in the FAC, n.1); and (b) individuals who

                                  15   signed an Agreement to Arbitrate Claims (as defined in the FAC, n.2). In addition, any individuals

                                  16   who previously signed agreements that waived and released the claims asserted in this action are

                                  17   excluded from the HPE California Class.

                                  18          B.      The Proposed Common Fund and Allocation Plan
                                  19          The proposed Settlement involves a Maximum Gross Settlement Amount of $18,000,000.

                                  20   The Maximum Gross Settlement Amount is inclusive of: (1) all individual settlement payments to

                                  21   Participating California Class Members and ADEA Plaintiffs; (2) Class Counsel’s attorneys’ fees;

                                  22   (3) litigation costs and expenses incurred by Class Counsel up to $200,000, including the costs of

                                  23   a third-party settlement administrator; and (4) and proposed service awards of up to $10,000 each

                                  24   for the five Named Plaintiffs. The proposed allocation of these four categories is as follows:

                                  25

                                  26
                                       3
                                  27     See also SA § 1.7 n.1 (exclusion of individuals who disclaimed in a legal proceeding any interest
                                       in participating or intent to participate in this action).
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                                          Maximum Gross Settlement Amount:                                          $18,000,000.00
                                   1

                                   2          Less Class Counsel’s Attorneys’ Fees (25%):                           Up to $ 4,500,000.00

                                   3          Less Cost and Expenses Advanced by Class Counsel
                                              Including Settlement Administration Costs:                            Up to $200,000.00
                                   4

                                   5          Less Service Awards to the 5 Named Plaintiffs ($10,000 each):         $50,000.00
                                   6
                                          Adjusted Settlement Amount:                                               $13,250,000.00
                                   7
                                              Under the proposed allocation methodology, the Revised Gross Settlement Amount would
                                   8
                                       be further divided between the ADEA Collective Action Plaintiffs and California Class Members
                                   9
                                       as follows:
                                  10
                                              ADEA Collective Action Plaintiffs:                    $7,905,044.17
                                  11

                                  12          Participating California Class Members:               $5,344,955.83
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                                  13          C.      The Proposed Allocation Methodology
                                  14          The proposed allocation methodology takes into consideration the following factors: (1)

                                  15   each individual’s salary at termination; (2) the number of years each individual was employed by a

                                  16   Defendant before termination; and (3) the damages (specifically, lost earnings) potentially

                                  17   recoverable by the ADEA Plaintiffs if the case went to trial, after considering their post-

                                  18   termination earnings and duty to mitigate damages. See SA § 3.3.

                                  19          To the degree there are uncashed checks equal to or exceeding a total of $25,000, a second

                                  20   pro rata distribution will be made to all ADEA Plaintiffs and Participating California Class

                                  21   Members. If the total of any uncashed checks is below $25,000, or to the degree there is

                                  22   unclaimed money after a second distribution, that money will go to the proposed cy pres recipient,

                                  23   the AARP Foundation, a nonprofit that advocates for economic opportunity, social connection,

                                  24   legal advocacy, and food security for older adults. AARP Foundation, (https://www.aarp.org/aarp-

                                  25   foundation); SA § 6.5. No part of the ADEA Plaintiffs’ or Participating California Class

                                  26   Members’ allocated shares of the Settlement proceeds will revert to the Defendants.

                                  27          Under the terms of the Settlement, half of each individual’s settlement payment will be

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                                   1   characterized as back wages (with a Form W-2 being issued for that portion) and half will be

                                   2   characterized as liquidated damages (with a Form 1099 being issued). The employer’s share of

                                   3   payroll taxes will be paid by the Defendants. Other applicable taxes will be deducted from each

                                   4   individual’s allocated settlement share, as set forth in the Settlement Agreement. See SA § 6.7.

                                   5          D.      Settlement Administration and Notice
                                   6          At preliminary approval, this Court found that the proposed Notice and Notice plan

                                   7   constituted the best notice possible, and appointed CPT Group, Inc., to administer the settlement

                                   8   (the “Settlement Administrator” or “CPT”). Amended Order Granting Preliminary Approval of

                                   9   Class Action and Collective Action Settlement (ECF No. 530) (“Amended Order Granting

                                  10   Preliminary Approval”), p. 9. Following preliminary approval, on November 21, 2023, the

                                  11   Settlement Administrator established a Settlement website to provides case specific information,

                                  12   important dates, and Administrator contact information for telephone or mail. Declaration of
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                                  13   Jeremy Romero (on Behalf of CPT Group, Inc.) With Respect to Notification and Administration

                                  14   (“Romero Decl.”) ¶ 7. On November 22, 2023, the Settlement Administrator disseminated Notice

                                  15   to the members of the California Settlement Classes via U.S. first class mail in accordance with

                                  16   the Settlement Agreement and consistent with this Court’s order granting preliminary approval.

                                  17   Romero Decl. ¶¶ 4– 6, 8, 10.

                                  18          E.      Release of Claims
                                  19          The ADEA Plaintiffs’ and Participating California Class Members’ release of claims is

                                  20   tailored to the age discrimination allegations asserted in the lawsuit as defined in the Settlement

                                  21   Agreement and does not release claims for any future conduct. SA § 13.1. Specifically, upon

                                  22   final approval, the ADEA Plaintiffs and Participating California Class Members will release all

                                  23   legal claims they may have against the “Released Persons” (as defined in the Settlement

                                  24   Agreement) relating to actual or alleged age discrimination in re-hiring, retention, termination of

                                  25   employment, or retaliation related to any attempt to become re-hired up to November 3, 2023, the

                                  26   date the Court entered its Amended Order Granting Preliminary Approval. Id. The five Named

                                  27   Plaintiffs will give a general release of claims. Id. § 13.2.

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                                              F.      Attorneys’ Fees and Costs, and the Named Plaintiffs’ Service Awards
                                   1
                                              The Settlement provides that the five Named Plaintiffs may request service award
                                   2
                                       payments of $10,000 each. Id. § 5. These amounts will be in addition to any other recovery they
                                   3
                                       may be entitled to under the Settlement as ADEA Plaintiffs and/or Participating California Class
                                   4
                                       Members. The Settlement Agreement also provides that Class Counsel may seek up to 25% of the
                                   5
                                       Maximum Gross Settlement Amount ($4,500,000) and reimbursement of costs and expenses up to
                                   6
                                       $200,000, including costs of settlement administration.4 Id.§ 4.
                                   7
                                       III.   DISCUSSION
                                   8
                                              In preliminarily approving the proposed Settlement, this Court found that, for purposes of
                                   9
                                       settlement only, the proposed California Settlement Classes satisfied the requirements for
                                  10
                                       certification under Rule 23(a) and (b)(3) and that the proposed Settlement was likely to meet the
                                  11
                                       necessary criteria for final approval under Rule 23(e), such that disseminating notice to the
                                  12
Northern District of California




                                       members of the proposed California Settlement Classes was appropriate. Amended Order
 United States District Court




                                  13
                                       Granting Preliminary Approval 2–4.
                                  14
                                              The deadline for members of the California Settlement Classes to object to or opt out of
                                  15
                                       the Settlement was January 23, 2024. Id. at 10. At the close of the period in which members of
                                  16
                                       the California Settlement Classes could timely object or opt-out (“Notice Period”), no California
                                  17
                                       Settlement Class members had objected to the Settlement and two (2) elected to opt out of the
                                  18
                                       Settlement. Romero Decl. ¶ 11.
                                  19
                                              On March 28, 2024, this Court held a fairness hearing to determine whether the Settlement
                                  20
                                       is deserving of final approval.
                                  21
                                              A.      Final Certification of Rule 23 Settlement Classes
                                  22
                                              For settlement purposes only, Plaintiffs seek final certification of the California Settlement
                                  23
                                       Classes set forth above. The Court hereby finds, for the purposes of settlement only, that the
                                  24
                                       California Settlement Classes satisfy all of the requirements for final certification under Rule 23(a)
                                  25

                                  26
                                       4
                                  27    The Settlement Administrator has agreed to perform all administrative work set forth in the
                                       Settlement Agreement for a flat fee of $14,750. Anderson Prelim App. Decl. ¶ 7.
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                                   1   and (b)(3). The Court hereby finds, for settlement purposes only, that:

                                   2               •   The final California Settlement Classes consist of approximately 242 individuals

                                   3                   (the “Participating California Class Members”), collectively, and are sufficiently

                                   4                   numerous that joinder is impracticable;

                                   5               •   The Participating California Class Members share common issues of fact and law

                                   6                   regarding whether their terminations were implemented in a manner that

                                   7                   discriminated against older workers, including the Participating California Class

                                   8                   Members, and whether Defendants violated California state law;

                                   9               •   The California Class Representatives’ claims are typical of those of the

                                  10                   Participating California Class Members because they arise out of the same policies,

                                  11                   practices, and course of conduct complained of by all other Participating California

                                  12                   Class Members;
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                                  13               •   The California Class Representatives are adequate representatives of the final

                                  14                   California Settlement Classes they propose to represent because their interests are

                                  15                   co-extensive with those of the Participating California Class Members, and they

                                  16                   have retained experienced class counsel to represent them and the final California

                                  17                   Settlement Classes; and

                                  18               •   Questions of law or fact common to the Participating California Class Members

                                  19                   predominate over individualized issues, and a class action is superior to other

                                  20                   available methods for the fair and efficient adjudication of this controversy.

                                  21                   Because certification of the final California Settlement Classes is proposed in the

                                  22                   context of a settlement, the Court need not inquire whether the case, if tried as a

                                  23                   class action, would present intractable management problems.

                                  24          Accordingly, for settlement purposes only, the Court hereby certifies the final California

                                  25   Settlement Classes under Rule 23(a) and (b)(3).

                                  26          B.       Final Approval of Class and Collective Action Settlement
                                  27          Final approval of a class action settlement under Rule 23(e)(2) requires a determination

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                                   1   that its terms are fair, reasonable, and adequate, after taking into consideration four factors: (1)

                                   2   whether the class representatives and class counsel adequately represented the class; (2) whether

                                   3   the proposed settlement was negotiated at arm’s length; (3) the adequacy of the relief the

                                   4   settlement provides; and (4) whether the proposed settlement treats class members equitably. Fed.

                                   5   R. Civ. P. 23(e)(2)(A)–(D).

                                   6           When determining whether a settlement is fair, reasonable, and adequate, courts consider

                                   7   the following factors: “(1) the strength of the plaintiff's case; (2) the risk, expense, complexity, and

                                   8   likely duration of further litigation; (3) the risk of maintaining class action status throughout the

                                   9   trial; (4) the amount offered in settlement; (5) the extent of discovery completed and the stage of

                                  10   the proceedings; (6) the experience and views of counsel; (7) the presence of a governmental

                                  11   participant; and (8) the reaction of the class members to the proposed settlement.” Churchill

                                  12   Village LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004). Courts must also determine whether
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 United States District Court




                                  13   a settlement was the result of good faith, arm’s-length negotiations or fraud and collusion. In re

                                  14   Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011).

                                  15           The Court has reviewed the terms of the proposed Settlement Agreement, reviewed the

                                  16   motion papers and supporting declarations, and given the members of the California Settlement

                                  17   Classes an opportunity to comment on, object to, or opt out of the proposed Settlement. Based on

                                  18   this record, the Court concludes and finds as follows.

                                  19                   1.      The Risks of Continued Litigation Are Substantial.
                                  20           “Approval of a class settlement is appropriate when ‘there are significant barriers plaintiffs

                                  21   must overcome in making their case.’” Betancourt v. Advantage Human Resourcing, Inc., No.

                                  22   14–cv–01788–JST, 2016 WL 344532, at *4 (N.D. Cal. Jan. 28, 2016). Here, Plaintiffs face

                                  23   several obstacles to full recovery, and continued litigation poses substantial risk at the certification

                                  24   stage and at trial for all parties. Even if Plaintiffs were to prevail at trial, appeals are likely to

                                  25   further delay relief and final resolution of their claims. This Court finds that this factor weighs in

                                  26   favor of granting final approval.

                                  27

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                                                      2.      The Amount of the Settlement and the Allocation Plan Are Fair.
                                   1
                                              The Settlement, if approved, will create a common fund of $18,000,000, with an average
                                   2
                                       allocated recovery (before applicable taxes and withholdings) for each ADEA Plaintiff and
                                   3
                                       Participating California Class Member of more than $50,000. No Participating California Class
                                   4
                                       Member will be allocated less than $15,000. SA § 3.3. At the preliminary approval stage, this
                                   5
                                       Court concluded that “the proposed Settlement Agreement provides significant relief to the ADEA
                                   6
                                       Plaintiffs and the members of the California Settlement Classes, and that the release of their
                                   7
                                       respective claims is appropriately tailored to the allegations in the Fourth Amended Complaint.”
                                   8
                                       Amended Order Granting Preliminary Approval 4. Nothing has changed to alter these
                                   9
                                       conclusions. This Court further finds that the proposed allocation plan is fair and based on
                                  10
                                       objective factors.
                                  11
                                                      3.         Discovery in the Case Has Adequately Informed the Parties.
                                  12
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                                              The parties exchanged written discovery and Class Counsel have taken corporate
 United States District Court




                                  13
                                       depositions, conducted lengthy investigations, and consulted with experts over the course of more
                                  14
                                       than six years in this matter. Anderson Prelim. App. Decl. ¶ 14. After settlement discussions
                                  15
                                       were underway, the parties continued to exchange information for many months during the
                                  16
                                       settlement process. Id.
                                  17
                                              In granting preliminary approval of the Settlement, this Court concluded that the parties
                                  18
                                       were adequately familiar with the strengths and weaknesses of their cases to make informed
                                  19
                                       decisions about settlement. Amended Order Granting Preliminary Approval 4. Nothing has
                                  20
                                       changed to alter the Court’s conclusions in this respect.
                                  21
                                                      4.      Counsel’s Experience and Views Support the Settlement.
                                  22
                                              “Great weight is accorded to the recommendation of counsel, who are most closely
                                  23
                                       acquainted with the facts of the underlying litigation.” Nat’l Rural Telecomms. Coop. v.
                                  24
                                       DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (internal quotations omitted). This Court
                                  25
                                       has determined Jennie Lee Anderson of Andrus Anderson LLP and Doug Dehler of O'Neil,
                                  26
                                       Cannon, Hollman, DeJong & Laing S.C. have substantial experience in prosecuting class actions
                                  27

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                                   1   and employment discrimination class actions, and are well-qualified to represent the California

                                   2   Settlement Classes. Amended Order Granting Preliminary Approval, p. 4. Class Counsel have

                                   3   submitted declarations attesting that that, in their professional judgment, the Settlement is an

                                   4   excellent result for those participating in it. Anderson Prelim App. Decl. ¶ 15; Declaration of

                                   5   Douglas P. Dehler in Support of Plaintiffs’ Motion for Preliminary Approval of Class Action and

                                   6   Collective Action Settlement ¶ 2. Based on the experience and representations of Class Counsel,

                                   7   the Court finds that this factor weighs in favor of final approval of the Settlement.

                                   8                    5.    Presence of a Government Participant
                                   9          Following the filing of Plaintiffs’ Motion for Preliminary Approval, since the Court’s

                                  10   Amended Order Granting Preliminary Approval, Defendants timely served the notice required

                                  11   under the Class Action Fairness Act, 28 U.S.C. § 1715, to the attorneys general of three (3) states

                                  12   where members of the California Settlement Classes were then understood to reside as well as to
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                                  13   the Attorney General of the United States. See Declaration of Richard W. Black Regarding

                                  14   Defendants’ Compliance with the Notice Provisions of the Class Action Fairness Act ¶¶ 3–4. No

                                  15   government entity has objected to the Settlement or sought to intervene. Id. ¶ 5. This factor

                                  16   therefore also weighs in favor of final approval.

                                  17                    6.    Reaction of Class Members
                                  18          On November 22, 2023, the Settlement Administrator disseminated the Notice to 244

                                  19   members of the California Settlement Classes. Romero Decl. ¶ 8. No objections to the Settlement

                                  20   were filed. Id. ¶ 10. The absence of objections to a proposed class action settlement raises a

                                  21   strong presumption that the terms of a proposed class settlement action are fair, adequate, and

                                  22   reasonable. See Garner v. State Farm Mut. Auto. Ins. Co., No. CV 08 1365, 2010 WL 1687832, at

                                  23   *14 (N.D. Cal. Apr. 22, 2010).

                                  24                    7.     The Settlement Is the Product of Arm’s Length Negotiations.
                                  25          In determining whether a settlement was the result of good faith, arm’s-length

                                  26   negotiations, The Ninth Circuit has identified three signs of potential collusion to be taken into

                                  27   consideration:

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                                   1          1) When class counsel receive a disproportionate distribution of the settlement;

                                   2          2) When the parties negotiate a “‘clear sailing provision’ providing for the payment of

                                   3              attorneys’ fees “separate and apart from class funds”; and

                                   4          3) When the parties agree that any fees not awarded to plaintiffs’ counsel will revert back

                                   5              to the defendants rather than to the class.

                                   6   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d at 947.

                                   7          None of these collusion factors are present here. Class Counsel seeks twenty-five percent

                                   8   (25%) of the common fund, which is the Ninth Circuit’s benchmark for attorneys’ fees paid from a

                                   9   common fund. Id. at 942. The Settlement does not include a “clear sailing” provision because any

                                  10   attorneys’ fees will be paid from the common fund, not separate and apart from class funds.

                                  11   Finally, there is no arrangement that any fees not awarded would revert to Defendants.

                                  12           Further, the Parties engaged in two full-day mediations with a prominent employment
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                                  13   discrimination mediator, Mark S. Rudy, and a retired California state court chief judge with

                                  14   significant complex litigation experience, Hon. Daniel J. Buckley (Ret.), and continued to consult

                                  15   with the mediators in connection with ongoing settlement negotiations. Anderson Prelim. App.

                                  16   Decl. ¶ 14. Thereafter, the parties continued to vigorously negotiate the terms of the proposed

                                  17   Settlement on a weekly, and sometimes daily, basis for eight more months. Id.

                                  18          Based on the record presented in support of the Preliminary Approval Motion, this Court

                                  19   concluded that “the Settlement is the result of extensive arms’ length negotiations among the

                                  20   parties….” Amended Order Granting Preliminary Approval 4. Nothing has changed to displace

                                  21   this conclusion.

                                  22                  8.      The Proposed Cy Pres Recipient Is Appropriate.
                                  23          The Parties do not yet know whether there will be unclaimed money at the end of the

                                  24   distribution process, given that there will be a pro rata redistribution of money if uncashed checks

                                  25   or unused funds exceed $25,000. SA § 6.5. However, should a cy pres distribution be required,

                                  26   this Court finds that the agreed upon recipient, the AARP Foundation, “bears a substantial nexus

                                  27   to the interests of the class members” accounting for “the nature of the plaintiffs’ lawsuit, the

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                                   1   objectives of the underlying statutes, and the interests of the silent class members....” Lane v.

                                   2   Facebook, Inc., 696 F.3d 811, 821 (9th Cir. 2012). Plaintiffs alleged age discrimination in

                                   3   violation of the ADEA and California state law, and the AARP Foundation assists older

                                   4   individuals in a variety of manners, including providing legal services.

                                   5                  9.      The Court-Approved Notice Sent to the Members of the California
                                                              Settlement Classes Here Constituted the Best Notice Practicable.
                                   6
                                              In its Amended Order Granting Preliminarily Approval, this Court found that “the Notice
                                   7
                                       and the plan to distribute the Notice constitute the best notice practicable under the circumstances
                                   8
                                       and allow the members of the California Settlement Classes a full and fair opportunity to consider
                                   9
                                       the proposed Settlement and evaluate their options.” Amended Order Granting Preliminary
                                  10
                                       Approval 5. The plan to distribute the Notice has now been carried out in accordance with this
                                  11
                                       Court’s Amended Order Granting Preliminary Approval and the terms of the Settlement
                                  12
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                                       Agreement. Romero Decl. ¶¶ 3–13. Based on this record, this Court concludes that the notice
 United States District Court




                                  13
                                       given here was, indeed, the best notice practicable.
                                  14
                                              C.      PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, COSTS, AND
                                  15                  SERVICE AWARDS FOR THE NAMED PLAINTIFFS.
                                  16          Class Counsel seeks $4,500,000 or twenty-five percent (25%) of the common fund created

                                  17   by the proposed Settlement in attorneys’ fees, up to $200,000 in costs, and the five Named

                                  18   Plaintiffs seek a $10,000 service award for each of them.

                                  19          Twenty-five percent (25%) of the common fund created by a settlement is the well-

                                  20   established “benchmark for an attorneys’ fee award in a successful class action” in this Circuit.

                                  21   Williams v. MGM-Pathe Commc’ns Co., 129 F.3d 1026, 1027 (9th Cir. 1997); see also In re

                                  22   Bluetooth Headset Prods. Liab. Litig., 654 F.3d at 942.

                                  23          Having considered the motion papers, declarations of Class Counsel and the Named

                                  24   Plaintiffs in submitted in support of Plaintiffs’ Motion for Attorneys’ Fees, Costs, and Service

                                  25   Awards, this his Court finds that an award of twenty-five percent (25%) of the common fund, or

                                  26   $4,500,0000, for attorneys’ fees is reasonable. The requested fee award is supported by (1) the

                                  27   results achieved by Class Counsel in the litigation, (2) the significant risks posed to Class Counsel

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                                   1   in pursuing the case on a contingent fee basis, (3) the skill and work exhibited by Class Counsel,

                                   2   (4) a comparison of the requested fee award to awards in similar cases, and (5) a lodestar cross-

                                   3   check.5

                                   4             This Court also finds reimbursement of $200,000 for costs and expenses Class Counsel

                                   5   incurred is reasonable and supported by the declarations of Class Counsel, which show that they

                                   6   reasonably and necessarily incurred fees and expenses of more than $200,000 that were directly

                                   7   related to creating the $18,000,000 common fund, including but not limited to costs incurred for

                                   8   storing electronic discovery, for consultants and potential expert witnesses, for mediator fees, and

                                   9   for third-party administration costs.

                                  10             Finally, the Court finds and concludes, in its discretion, that requested service awards in

                                  11   the amount of $10,000 for each of the five Named Plaintiffs are warranted under the facts and

                                  12   circumstances of this case, including the Named Plaintiffs’ significant contributions to the
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                                  13   resolution of this matter, the recoveries obtained for the benefit of the other ADEA Plaintiffs and

                                  14   Participating California Class Members, the average and minimum recoveries of ADEA Plaintiffs

                                  15   and Participating California Class Members (both of which exceed the amount of the requested

                                  16   service awards), and the risks taken on by the Named Plaintiffs in bringing this nationwide

                                  17   collective and class action.

                                  18   IV.       CONCLUSION
                                  19             Based on the foregoing and the record before this Court, Plaintiffs’ Motion for Final

                                  20   Approval and Plaintiffs’ Motion for Attorneys’ Fees, Costs and Service Awards are GRANTED,

                                  21   and this Court FINDS and ORDERS as follows:

                                  22                a. This Court shall retain jurisdiction over the claims alleged, the Parties in this action,

                                  23

                                  24
                                       5
                                         Declaration of Douglas P. Dehler in Support of Plaintiffs’ Motion for Attorneys’ Fees, Costs,
                                       and Service Awards for the Named Plaintiffs (ECF No. 534-1); Declaration of Jennie Lee
                                  25   Anderson in Support of Plaintiffs’ Motion for Attorneys’ Fees, Costs, and Service Awards for the
                                       Named Plaintiffs (ECF No. 534-2). As of the date Plaintiffs’ Motion for Attorneys’ Fees, Costs,
                                  26   and Service Awards, Class Counsel’s lodestar was $5,817,603.50, which represented a negative
                                       lodestar multiplier (approximately 0.77) with still more work to be performed in connection with
                                  27   the fairness hearing. This Court finds the hours spent on the case and Class Counsel’s hourly rates
                                       to be reasonable.
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                                   1               and the implementation and administration of the Settlement Agreement;

                                   2            b. The Court hereby certifies, on a final basis and for settlement purposes only, the

                                   3               California Settlement Classes that this Court previously preliminarily certified, as

                                   4               defined above and pursuant to Federal Rule of Civil Procedure 23(b)(3);

                                   5            c. This Court finds the terms of the proposed Settlement Agreement to be fair,

                                   6               reasonable and adequate and deserving of final approval, and directs consummation

                                   7               of its terms and provisions;

                                   8            d. This Court finds that the Settlement is the product of arm’s length negotiations with

                                   9               no indication of collusion;

                                  10            e. This Court finds that Class Counsel appointed to represent the California Settlement

                                  11               Classes, Jennie Lee Anderson and Douglas P. Dehler, have done so adequately;

                                  12            f. This Court finds that Named Plaintiffs Arun Vatturi and Kevin Alviso, who this
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                                  13               Court appointed to represent the HP Co./HP Inc. California Class and the HPE

                                  14               California Class, respectively, have done so adequately;

                                  15            g. This Court finds that the court-authorized Notice and dissemination of the Notice to

                                  16               California Settlement Classes was adequate and constituted the best notice

                                  17               practicable;

                                  18            h. The Court hereby approves Class Counsel’s request for attorneys’ fees in the amount

                                  19               of $4,500,000, and for costs in the amount of $200,000;

                                  20            i. The Court hereby approves Named Plaintiffs’ request for service awards to be paid

                                  21               to each of them of $10,000 each;

                                  22            j. The Court hereby authorizes the Settlement Administrator to carry out the remainder

                                  23               of its the duties set forth in the Settlement Agreement, including dissemination of the

                                  24               Settlement funds once the Final Effective Date has passed;

                                  25            k. The Released Claims, and all provisions related thereto, set forth in the Settlement

                                  26               Agreement are approved by the Court and fully incorporated in this Order. In

                                  27               accordance with the terms of the Settlement Agreement, the Released Claims are

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                                   1                effective as of the Final Effective Date.

                                   2             l. This Court shall enter the parties’ proposed Final Judgment on the Released Claims

                                   3                (as defined in the Settlement Agreement) dismissing this action and the Released

                                   4                Claims with prejudice, and without costs to any of the parties as against any other

                                   5                settling party, except as provided in the Settlement Agreement.

                                   6             m. Within twenty-one (21) days after the distribution of the settlement funds and

                                   7                payment of attorneys’ fees, and no later than November 15, 2024, Class Counsel

                                   8                shall file with this Court a Post-Distribution Accounting as required by this district’s

                                   9                Procedural Guidance for Class Action Settlements.

                                  10

                                  11         IT IS SO ORDERED.

                                  12   Dated: March 29, 2024
Northern District of California
 United States District Court




                                  13

                                  14
                                                                                                   EDWARD J. DAVILA
                                  15                                                               United States District Judge
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